 Case 18-21125-KCF                       Doc 16 Filed 09/02/18 Entered 09/03/18 00:34:28                             Desc Imaged
                                              Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1
                       Helen N Feliciano                                           Social Security number or ITIN   xxx−xx−0230
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       District of New Jersey

Case number:          18−21125−KCF

Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Helen N Feliciano
             fka Helen N Logan, fka Helen N Anthony


             8/31/18                                                       By the court: Kathryn C. Ferguson
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.
However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                       For more information, see page 2 >




Official Form 318                                             Order of Discharge                                     page 1
 Case 18-21125-KCF           Doc 16 Filed 09/02/18 Entered 09/03/18 00:34:28               Desc Imaged
                                  Certificate of Notice Page 2 of 3




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
      Case 18-21125-KCF                Doc 16 Filed 09/02/18 Entered 09/03/18 00:34:28                               Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 18-21125-KCF
Helen N Feliciano                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 1                          Date Rcvd: Aug 31, 2018
                                      Form ID: 318                       Total Noticed: 12


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 02, 2018.
db             +Helen N Feliciano,   69 Gainscott Lane,   Willingboro, NJ 08046-3029
517567890      +SLS,   8742 Lucent Blvd.,   Suite 300,   Highlands Ranch, CO 80129-2386
517567891      +State of NJ / Dept. of Treasury,   PO Box 002,   Trenton, NJ 08625-0002

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Aug 31 2018 23:04:31        U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Aug 31 2018 23:04:27        United States Trustee,
                 Office of the United States Trustee,     1085 Raymond Blvd.,    One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
517567878      +E-mail/Text: mary.stewart@abcofcu.org Aug 31 2018 23:05:30        Abco Federal Cr Union,
                 Po Box 247,    Rancocas, NJ 08073-0247
517567879       EDI: IRS.COM Sep 01 2018 02:44:00       IRS,   PO Box 7346,    Philadelphia, PA 19101-7346
517567880      +EDI: CBSKOHLS.COM Sep 01 2018 02:43:00       Kohls/Capital One,    Kohls Credit,    Po Box 3120,
                 Milwaukee, WI 53201-3120
517567881      +EDI: NAVIENTFKASMSERV.COM Sep 01 2018 02:43:00       Navient,    Attn: Bankruptcy,    Po Box 9500,
                 Wilkes-Barre, PA 18773-9500
517570320      +EDI: RMSC.COM Sep 01 2018 02:44:00       Synchrony Bank,    c/o of PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk, VA 23541-1021
517567892      +EDI: RMSC.COM Sep 01 2018 02:44:00       Synchrony Bank/Care Credit,    Attn: Bankruptcy Dept,
                 Po Box 965061,    Orlando, FL 32896-5061
517567893      +EDI: VERIZONCOMB.COM Sep 01 2018 02:44:00       Verizon,    Verizon Wireless Bk Admin,
                 500 Technology Dr Ste 550,    Weldon Springs, MO 63304-2225
                                                                                                TOTAL: 9

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
517567884*       +Navient,   Attn: Bankruptcy,   Po Box 9500,   Wilkes-Barre,                   PA   18773-9500
517567885*       +Navient,   Attn: Bankruptcy,   Po Box 9500,   Wilkes-Barre,                   PA   18773-9500
517567886*       +Navient,   Attn: Bankruptcy,   Po Box 9500,   Wilkes-Barre,                   PA   18773-9500
517567887*       +Navient,   Attn: Bankruptcy,   Po Box 9500,   Wilkes-Barre,                   PA   18773-9500
517567888*       +Navient,   Attn: Bankruptcy,   Po Box 9500,   Wilkes-Barre,                   PA   18773-9500
517567889*       +Navient,   Attn: Bankruptcy,   Po Box 9500,   Wilkes-Barre,                   PA   18773-9500
517567882*       +Navient,   Attn: Bankruptcy,   Po Box 9500,   Wilkes-Barre,                   PA   18773-9500
517567883*       +Navient,   Attn: Bankruptcy,   Po Box 9500,   Wilkes-Barre,                   PA   18773-9500
                                                                                                                    TOTALS: 0, * 8, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 02, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 31, 2018 at the address(es) listed below:
              Bunce Atkinson    on behalf of Trustee Bunce Atkinson bunceatkinson@aol.com, NJ09@ecfcbis.com,
               maraujo@atkinsondebartolo.org
              Bunce Atkinson    bunceatkinson@aol.com, NJ09@ecfcbis.com,maraujo@atkinsondebartolo.org
              Denise E. Carlon    on behalf of Creditor   The Bank of New York Mellon fka The Bank of New York,
               as Trustee for the Certificateholders of CWABS, Inc., Asset-Backed Certificates, Series 2007-10
               dcarlon@kmllawgroup.com, bkgroup@kmllawgroup.com
              Edward R Wiercinski    on behalf of Debtor Helen N Feliciano erw@partnerinthelaw.com
              Kevin Gordon McDonald    on behalf of Creditor   The Bank of New York Mellon fka The Bank of New
               York, as Trustee for the Certificateholders of CWABS, Inc., Asset-Backed Certificates, Series
               2007-10 kmcdonald@kmllawgroup.com, bkgroup@kmllawgroup.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                             TOTAL: 6
